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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

     WILLIAM JONES, ALEX HOLT, MICHELLE
     DANIELS, LARRY WASHINGTON, MARKO
     FREEMAN, JOHN POINDEXTER, NIKKI
     SYKES, PAULA SBABO, WORAND DAVIS,
     JOHN AGAPOS, PAULA JOHNSON, SHAWNTA
     POWELL, CELESTE HINES, JENNIFER
     SPONSELLER, MARNETTA JACKSON,
     FLORENCE MIMS, CONSTANCE HUNTER,
     CASSANDRA MCCLINTON, SHAY TUCKER,
     REGINA LUCKETT, ASHLEY MARTIN,
     JENISE WALTERS, and YOLANDA SMITH, on
     behalf of themselves and others similarly situated,

                      Plaintiffs,

     v.                                                      No. 6:15-cv-1637-Orl-37DAB

     WAFFLE HOUSE, INC., a Georgia corporation,
     WH CAPITAL, LLC, a Georgia limited liability
     company, THE SOURCE FOR PUBLIC DATA,
     L.P. dba PUBLICDATA.COM, a foreign limited
     partnership, SHADOWSOFT, INC., a foreign
     corporation, HARLINGTON-STRAKER-
     STUDIO, INC., a Texas corporation, and DALE
     BRUCE STRINGFELLOW, an individual,

                      Defendants.


                                    JOINT NOTICE OF SETTLEMENT

               Plaintiffs William Jones, Alex Holt, Michelle Daniels, Larry Washington, Marko

    Freeman, John Poindexter, Nikki Sykes, Paula Sbabo, Worand Davis, John Agapos, Paula

    Johnson, Shawnta Powell, Celeste Hines, Jennifer Sponseller, Marnetta Jackson, Florence

    Mims, Constance Hunter, Cassandra Mcclinton, Shay Tucker, Regina Luckett, Ashley Martin,

    Jenise Walters, and Yolanda Smith, and Defendants Waffle House, Inc., WH Capital, LLC,



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    The Source For Public Data, L.P. d/b/a Publicdata.Com, Shadowsoft, Inc., Harlington-Straker

    Studio, Inc., and Dale Bruce Stringfellow, by counsel, hereby submit notice to the Court that

    all matters at issue between them in the present action have been settled. The parties expect to

    submit to the Court a Stipulation of Dismissal, with prejudice, within 30 days of this notice.



    Dated: March 22, 2018



      /s/ Justin Kachadoorian                          /s/ David M. Gettings

     Joshua H. Eggnatz (FL Bar No. 67926)              Richard W. Smith (FL Bar No. 0013943)
     Michael J. Pascucci (FL Bar No. 83397)            Kimberly E. Young (FL Bar No. 109590)
     The Eggnatz Law Firm, PA                          Cole, Scott & Kissane, P.A.
     5400 S University Drive, Suite 413                Tower Place, Ste. 400
     1920 N Commerce Parkway                           1900 Summit Tower Blvd.
     Davie, FL 33328-5313                              Orlando, FL 32810
     Email: JEggnatz@ELPLawyers.com                    (321) 972-0098 (direct)
     Email: mpascucci@elplawyers.com                   (321) 972-0099 (fax)
                                                       Email: Richard.Smith@csklegal.com
     Alexandria R. Kachadoorian (admitted pro          Email: Kimberly.Young@csklegal.com
     hac vice)
     Anthony J. Orshansky (admitted pro hac            John C. Lynch (admitted pro hac vice)
     vice)                                             David M. Gettings (admitted pro hac vice)
     Justin Kachadoorian (admitted pro hac vice)       Troutman Sanders LLP
     CounselOne, PC                                    222 Central Park Avenue, Suite 2000
     9301 Wilshire Blvd., Suite 650                    Virginia Beach, Virginia 23462
     Beverly Hills, CA 90210                           Telephone: (757) 687-7765
     Email: alexandria@counselonegroup.com             Facsimile: (757) 687-1545
     Email: anthony@counselonegroup.com                E-mail: john.lynch@troutman.com
     Email: justin@counselonegroup.com                 E-mail: david.gettings@troutman.com

     Counsel for Plaintiffs                            Counsel for Waffle House, Inc. and WH
                                                       Capital, LLC




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      /s/ Timothy St. George

     Thomas H. Loffredo (FL Bar No. 870323)
     GrayRobinson, PA
     401 E Las Olas Blvd Ste 1000
     Ft Lauderdale, FL 33301
     Email: tom.loffredo@gray-robinson.com

     Ronald I. Raether, Jr.
     (admitted pro hac vice)
     Jonathan H. Yee (admitted pro hac vice)
     Troutman Sanders, LLP
     5 Park Plaza Ste 1400
     Irvine, CA 92614-2545
     949-622-2700
     Fax: 949-622-2739
     Email:
     Ronald.Raether@troutmansanders.com
     Email: jonathan.yee@troutmansanders.com

     Timothy St. George (admitted pro hac vice)
     Troutman Sanders, LLP
     1001 Haxall Point
     Richmond, VA 23219
     804-697-1254
     Fax: 804-698-6013
     Email: tim.stgeorge@troutmansanders.com

     Counsel for Defendants The Source for
     Public Data, L.P., Shadowsoft, Inc.,
     Harlington-Straker-Studio, Inc. and Dale
     Bruce Stringfellow




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                                    CERTIFICATE OF SERVICE

            I hereby certify that on this 22nd day of March 2018, I filed the foregoing with the
    Court’s CM/ECF system, which will deliver notice of the filing to the following counsel of
    record:
                                          Counsel for Plaintiffs
                                           Joshua H. Eggnatz
                                           Michael J. Pascucci
                                      The Eggnatz Law Firm, PA
                                   5400 S University Drive, Suite 413
                                      1920 N Commerce Parkway
                                         Davie, FL 33328-5313
                                   Email: JEggnatz@ELPLawyers.com
                                   Email: mpascucci@elplawyers.com

                           Alexandria R. Kachadoorian (admitted pro hac vice)
                              Anthony J. Orshansky (admitted pro hac vice)
                               Justin Kachadoorian (admitted pro hac vice)
                                             CounselOne, PC
                                      9301 Wilshire Blvd., Suite 650
                                        Beverly Hills, CA 90210
                                Email: alexandria@counselonegroup.com
                                 Email: anthony@counselonegroup.com
                                   Email: justin@counselonegroup.com

               Counsel for Defendants The Source for Public Data, L.P., Shadowsoft, Inc.,
                     Harlington-Straker-Studio, Inc. and Dale Bruce Stringfellow
                                           Thomas H. Loffredo
                                            GrayRobinson, PA
                                     401 E Las Olas Blvd Ste 1000
                                         Ft Lauderdale, FL 33301
                                 Email: tom.loffredo@gray-robinson.com

                              Ronald I. Raether, Jr. (admitted pro hac vice)
                                Jonathan H. Yee (admitted pro hac vice)
                                        Troutman Sanders, LLP
                                          5 Park Plaza Ste 1400
                                         Irvine, CA 92614-2545
                                              949-622-2700
                                           Fax: 949-622-2739
                              Email: Ronald.Raether@troutmansanders.com
                               Email: jonathan.yee@troutmansanders.com




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                       Timothy St. George (admitted pro hac vice)
                                 Troutman Sanders, LLP
                                    1001 Haxall Point
                                  Richmond, VA 23219
                                      804-697-1254
                                   Fax: 804-698-6013
                       Email: tim.stgeorge@troutmansanders.com


                                          /s/ David M. Gettings
                                          David M. Gettings (pro hac vice)
                                          Troutman Sanders LLP
                                          222 Central Park Avenue, Suite 2000
                                          Virginia Beach, Virginia 23462
                                          Telephone: (757) 687-7747
                                          Facsimile: (757) 687-1545
                                          E-mail: david.gettings@troutmansanders.com




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    34454293
